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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

          plaintiffs,
  v.                                                              Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                            DR. WRIGHT’S REQUEST FOR AN
                        URGENT DISCOVERY STATUS CONFERENCE

          Dr. Wright submits that a status conference regarding discovery is necessary because on

  Thursday, during our in-person meeting with plaintiffs’ counsel, we learned for the first time two

  critical facts that not only flatly contradict what plaintiffs represented to the Court at the

  discovery conference on Tuesday, but may also materially affect discovery. Specifically, this

  entire case centers on Dave Kleiman—plaintiffs allege that Dr. Wright stole bitcoins and

  intellectual property from Dave. Yet, plaintiffs have slow walked their production of Dave’s

  documents, despite the critical importance of those documents. At Tuesday’s hearing, we

  expressed our concern that we have not received a single document from Dave that is relevant to

  plaintiffs’ claims. Plaintiffs’ justification for delaying Dave’s production was that there are

  “literally hundreds of thousands of documents from Dave Kleiman” that have to be reviewed

  before they can be produced:

          MR. FREEDMAN: Yes. So the problem is, your Honor, there are literally
          hundreds of thousands of documents from Dave Kleiman. Those documents
          have to be reviewed for privilege and they have -- somebody has to look at them
          before they go out the door. Like I said, we have seven people reviewing it, but
          that is why search terms were invented, right, so we don't have to review hundreds
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         of thousands of documents and just hand them over to the defendant. I can’t hand
         over documents just like that.

  Hr’g Tr. 21:13-21 (emphasis added), attached as Exhibit A.

         This statement is inaccurate. During our in-person meeting with plaintiffs’ counsel, we

  learned that the “universe” of Dave’s documents stored on his devices, without running any

  search terms, is 31,304. Of those documents, only 1,833 respond to search terms relating to Dr.

  Wright, W&K, or bitcoin. We also learned for the first time yesterday, that plaintiffs have only

  accessed one of Dave’s five email accounts. That single email account has only 303 documents

  that respond to search terms relating to Dr. Wright, W&K, and bitcoin. We haven’t received any

  of these documents.1

         Furthermore, at Tuesday’s hearing we asked that the Court address another problem—

  plaintiffs’ productions thus far has mostly consisted of troves of Ira Kleiman’s emails that appear

  to have been culled directly from his spam or junk email folders (i.e. CompUSA advertisements,

  Quora article recommendations, pictures of horses, and other online-sale solicitations).2 To help

  put an end to this nonsense production, we asked that the plaintiffs prioritize—from the

  purported “universe” of over a million documents—production of documents relating to Dr.

  Wright, W&K, or bitcoin by Friday (today):

         What I would request, your Honor, is that the prioritization starts with Craig
         Wright, move to W&K, and then move to Bitcoin so that we're not receiving Google
         Ads, Craig's List ads, CoRA Forum reviews. So that the next production we get

  1
    Plaintiffs are also, for the first time, lodging a new objection to producing Dave’s documents on
  the basis that a large amount of Dave’s documents are purportedly privileged because they
  consist of forensic work that he did as an expert witness for attorneys in other cases. Apart from
  the fact that this objection should have been made long ago, it’s not clear how these documents
  are privileged or why they would turn up in searches related to Dr. Wright, W&K, and bitcoin.
  2
    Of course, these documents have no connection to this case, and we are still not sure what
  search terms plaintiffs are using to locate these documents. The horse photos should not be
  responsive to the agreed and approved search terms. It is also notable that plaintiffs took time to
  redact portions of these non-responsive documents and then designate them as “confidential.”
  This is not helpful to moving the case forward.
                                                   2
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         on Friday is going to be a subset of the million documents of documents that are
         actually relevant to their claims.

  Hr’g Tr. 27:16-22 (emphasis added). Plaintiffs agreed to this request. Id. at 28:14-15 (the Court

  stating that “Ms. McGovern, I think he agreed to what you asked for. So we are good there.”).

  Plaintiffs are now telling us that they are not producing these documents on Friday.

         Given the seriousness of plaintiffs’ allegations, the amount of party and judicial resources

  spent addressing discovery issues, and plaintiffs’ representations to the Court to justify their

  delay in producing Dave’s documents, it is deeply troubling that we are learning these “new”

  facts just yesterday. Had plaintiffs disclosed that they had only 31,304 documents from Dave, of

  which only 1,833 respond to basic search terms, the parties would not have had to devote so

  much time coming up with search terms because they were unnecessary. Had plaintiffs told us

  earlier that they only had access to one of Dave’s email accounts, we could have taken steps to

  access the other email accounts (i.e. subpoenas). Had plaintiffs disclosed the truth about Dave’s

  documents, the Court would have likely ordered production of Dave’s documents long ago,

  which would have saved considerable time and resources, accelerated the discovery process, and

  moved this case forward.

         In addition, there are other discovery disputes that plaintiffs have avoided addressing by

  either engaging in obstinate delay tactics or by refusing to engage in the required meet-and

  confers, despite the rapidly approaching Court-ordered deadlines. We’ve repeatedly asked for

  deposition dates for non-parties,3 and plaintiffs finally responded that “[b]efore we schedule

  these deposition,” Dr. Wright has to “agree” not to seek to re-depose the witnesses if plaintiffs

  produce documents after the deposition date. See V. Freedman email to B. Paschal, dated March



  3
   At Tuesday’s hearing, the Court ordered that Patrick Paige and Carter Conrad can be deposed.
  We are now asking for dates for non-parties Ju Kleiman and Joseph Karp, Esq.
                                                    3
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  27, 2019, attached as Exhibit B. In light of plaintiffs’ failure to timely produce “bull’s eye”

  documents from a small “universe” of documents, this condition is particularly unreasonable. We

  are seeking to schedule depositions to take place just a month before the discovery deadline, and

  plaintiffs cannot hold up depositions because they are slow walking their production of relevant

  documents. We ask that the Court order the parties to agree to clearing alternating weeks for the

  scheduling of depositions—plaintiffs start the week of April 29; Dr. Wright starts on the week of

  May 6.

           We have also asked plaintiffs for a meet-and-confer regarding certain of their discovery

  responses, but we have not heard from them. See B. Paschal email to V. Freedman, dated March

  27, 2019, attached as Exhibit C. It is important to resolve plaintiffs’ objections to our discovery

  requests,4 because we are deposing Ira on April 8, and certain interrogatories and document

  requests correspond to the topics of Ira’s deposition that we sent plaintiffs. Specifically, our

  interrogatories and document requests sought information regarding the identity of Ira’s

  litigation funder, how much money Ira received from that funder, and whether Ira assigned any

  portion of his cause of action to that funder. Plaintiffs objected that the information is privileged.

  We intend to ask Ira these questions at his deposition and an advanced ruling on the scope of

  privilege will avoid instructions not to answer.

           Moreover, while the Court ordered Ira to produce forensic images of Dave’s devices so

  that our vendor, AlixPartners, can analyze how much data Ira may have deleted from Dave’s

  devices, our vendor has informed us that five of the ten forensic images provided to us do not

  authenticate. Because AlixPartners cannot authenticate these images, it cannot perform the



  4
    A copy of plaintiffs’ interrogatory responses is attached as Exhibit D. A copy of plaintiffs’
  responses to document requests is attached as Exhibit E. The disputed interrogatories are
  numbers 11 and 12, and the disputed document requests are 13-18.
                                                     4
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  analysis on these five images, requiring that the devices be re-imaged. We have asked plaintiffs

  if we can re-image those five devices, but we have not heard back from them.

         Dr. Wright submits that a status conference is necessary to flesh out these issues once and

  for all. Plaintiffs object to a status conference. However, given the nature of Dr. Wright’s

  concerns and plaintiffs’ delay in production, a discovery conference is warranted. A clear

  directive from the Court regarding the parties’ discovery obligations will be extremely helpful in

  moving this case forward so that the parties can meet the Court ordered-deadlines.

                                                       Respectfully submitted,

                                                       RIVERO MESTRE LLP
                                                       Attorneys for Dr. Craig Wright
                                                       2525 Ponce de Leon Boulevard, Suite 1000
                                                       Miami, Florida 33134
                                                       Telephone: (305) 445-2500
                                                       Fax: (305) 445-2505
                                                       Email: arivero@riveromestre.com
                                                       Email: amcgovern@riveromestre.com
                                                       Email: arolnick@riveromestre.com
                                                       Email: bpaschal@riveromestre.com

                                                       By: s/ Andres Rivero
                                                       ANDRES RIVERO
                                                       Florida Bar No. 613819
                                                       ALAN H. ROLNICK
                                                       Florida Bar No. 715085
                                                       AMANDA MCGOVERN
                                                       Florida Bar No. 964263
                                                       BRYAN L. PASCHAL
                                                       Florida Bar No. 091576

                                CERTIFICATE OF CONFERRAL

          I certify that on March 28, 2019, counsel for Dr. Wright spoke with counsel for plaintiffs,
  in person, regarding relief sought in this motion. Plaintiffs object.

                                                                     _ /s/Andres Rivero
                                                                        ANDRES RIVERO




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                                  CERTIFICATE OF SERVICE

         I certify that on March 29, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.

                                                                    _ /s/Andres Rivero
                                                                       ANDRES RIVERO




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